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UNITED STATES DEPARTMENT OF AGRICULTURE
BEFORE THE SECRETARY OF AGRICULTURE

In re:
Dan Colbert, P&S Docket No. 23-J-0032

Respondent.

DECISION AND ORDER WITHOUT HEARING BY REASON OF DEFAULT

‘Appearance:

Michelle McMurtray, Esq., with the Office of the General Counsel, United States Department
of Agriculture, Washington, DC, for the Complainant, the Deputy Administrator, Fair Trade
Practices Program, Agricultural Marketing Service (“AMS”).

Preliminary Statement

This is a disciplinary proceeding under the Packers and Stockyards Act, 1921, as
amended and supplemented (7 U.S.C. § 181 et seq.) (“P&S” or “The Act”); the regulations
promulgated thereunder by the Secretary of Agriculture (9 C.F.R. § 201.1 et seq.)
(“Regulations”); and the Rules of Practice Governing Formal Adjudicatory Proceedings
Instituted by the Secretary Under Various Statutes (7 C.F.R. §§ 1.130 through 1.151) (“Rules
of Practice’’).

The Complainant, the Deputy Administrator, Fair Trade Practices Program,
Agricultural Marketing Service, United States Department of Agriculture, initiated this
proceeding against Respondent Dan Colbert by filing a Complaint on March 6, 2023. The
Complaint alleged that Respondent failed to maintain an adequate bond or bond equivalent
while engaged in the business of buying livestock in commerce on commission.

Respondent was duly served with a copy of the Complaint and did not file an answer
within the twenty (20) day period prescribed by section 1.136 of the Rules of Practice (7
C.ER. § 1.136).[1]

On May 3, 2023, I issued an order directing the parties to show cause (“Show Cause

Order”), not later than twenty (20) days after that date, why default should not be entered

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against Respondent. On May 19, 2023, Complainant file a Motion for Decision Without
Hearing by Reason of Default (“Motion for Default”) and [Proposed] Order for a Decision
Without Hearing by Reason of Default (“Proposed Decision”). Respondent failed to respond
to the Show Cause Order[2] and has not filed any objections to Complainant’s Motion for
Default or Proposed Decision.[3]

Failure to file a timely answer or failure to deny or otherwise respond to allegations in
the Complaint shall be deemed, for purposes of this proceeding, an admission of the
allegations in the Complaint, unless the parties have agreed to a consent decision. 7 C.F.R. §
1.136(c). Other than a consent decision, the Rules of Practice do not provide for exceptions to
the regulatory consequences of an untimely filed answer where, as in the present case, no
meritorious objections have been filed.[4]

As Respondent failed to answer the Complaint, and upon Complainant’s motion for the
issuance of a decision without hearing by reason of default, this Decision and Order is issued
without further procedure or hearing pursuant to section 1.139 of the Rules of Practice (7
C.ER. § 1.139).

Findings of Fact

1. Respondent Dan XXXXxX is an individual whose principal place of business and mailing
address is a home address located in Oklahoma and will not be stated herein to protect
Respondent’s privacy.

2.  Atall times material herein, Respondent engaged in the business of a dealer under the act
and registered with the Secretary of Agriculture as a dealer.

3. On December 17, 2019, the USDA sent Respondent a “Letter of Credit Expiration”
notifying Respondent that his Letter of Credit was set to expire on January 16, 2020, and
that Respondent had an obligation to secure a new Letter of Credit, bond, or bond
equivalent.

4. On January 11, 2020, Respondent extended his letter of credit.

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On January 17, 2020, the Packers and Stockyards Division received notice from
Respondent’s bank indicating that the bank was terminating the letter of credit.

On January 17, 2020, the Packers and Stockyards Division sent Respondent a Trust
Agreement Termination and informed Respondent that engaging in any business without a
bond or bond equivalent is a violation of the Act.

Respondent did not obtain a new letter of credit.

Between September 2020 and April 2021, Respondent purchased 1,313 head of livestock
for $853,532.42 without the required $80,000 bond.

Conclusions

The Secretary of Agriculture has jurisdiction in this matter.

By reason of the facts stated above, Respondent has willfully violated section 312 of the
Act (7 U.S.C. § 213), 7 U.S.C. § 204 (which applies as a supplement to the Act), and
sections 201.29 and 201.30 of the Regulations promulgated thereunder (9 C.F.R. §§ 201.29
and 201.30).

ORDER

Complainant’s Motion for Decision Without Hearing by Reason of Default is
GRANTED.

Respondent, his agents and employees, directly or through any corporate or other device,
in connection with operations subject to the Packers and Stockyards Act, shall cease and
desist from engaging in operations subject to the Act without an adequate bond or bond
equivalent.

Respondent is assessed a civil penalty of $8,000.00, to be paid immediately by certified
check or money order made payable to the Treasurer of the United States upon the final

and effective date of this order. The payment shall be sent to the following address:

USDA, Fair Trade Practices Program
Packers and Stockyards Division
P.O. Box 790312

St. Louis, MO 63179-0312

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The certified check or money order shall include the docket numbers of this proceeding (P&S
Docket No. D-23-J-0032)

This Decision and Order shall be final and effective without further proceedings thirty-
five (35) days after service unless an appeal to the Judicial Officer is filed with the Hearing
Clerk within thirty (30) days after service, as provided in sections 1.139 and 1.145 of the
Rules of Practice (7 C.F.R. §§ 1.139 and 1.145).

Copies of this Decision and Order shall be served by the Hearing Clerk upon each of

the parties, with courtesy copies provided via email where available.

Done at Washington, D.C., this 22 day of June 2023

Channing D. Strother
Chief Administrative Law Judge

Hearing Clerk’s Office

United States Department of Agriculture
Stop 9203, South Building, Room 1031
1400 Independence Avenue, SW
Washington, DC 20250-9203

Tel.: 202-720-4443

Fax: 1-844-325-6940
SM.OHA.HearingClerks@USDA.GOV

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